    AO 458 (Rev. 06/09) Appearance of Counsel


                                         UNITED STATES DISTRICT COURT
                                                                    for the
                                                    Southern District
                                                      __________      of New
                                                                   District of York
                                                                               __________


American Federation of Government Employees, AFL-CIO, et al )
                                 Plaintiff                             )
                                    v.                                 )      Case No. 1:25-cv-01237
          U.S. Office of Personnel Management, et al.                  )
                                Defendant                              )

                                                          APPEARANCE OF COUNSEL

    To:       The clerk of court and all parties of record

              I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

             Plaintiffs                                                                                                           .


    Date:          02/12/2025                                                               /Christopher J Sprigman/
                                                                                                Attorney’s signature


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